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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        UNITED STATES OF AMERICA,                        CASE NO. CR17-0132-JCC
10                            Plaintiff,                   MINUTE ORDER
11             v.

12        ROBEL KELETA GOITOM,

13                            Defendant.
14

15            The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17            This matter comes before the Court on J. Talitha Hazelton’s notice of appearance on
18   Defendant’s behalf (Dkt. No. 95). The notice includes a request for a consent order granting
19   substitution of attorney in this matter (Dkt. No. 95-1.) This notice does not satisfy the
20   requirements for withdrawal of counsel in a criminal matter. See W.D. Wash. Local Crim. R.
21   1(a) (incorporating W.D. Wash. Local Civ. R. 83.2(b)); W.D. Wash. Local Crim. R. 5(g)(4).
22   Accordingly, Cathy Gormley remains counsel of record for Defendant. Should Ms. Gormley
23   wish to withdraw, she is DIRECTED to file a motion or stipulation consistent with the local
24   rules.
25   //
26   //


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 1         DATED this 2nd day of October 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Tomas Hernandez
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                                                 Deputy Clerk
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